                           Case 4:13-cr-00274-JLH Document 64 Filed 09/08/14 Page 1 of 8
A0245B        (Rev. 09/11) Judgment in a Criminal Case
              Sheet 1



                                         UNITED STATES DISTRICT COURT                                                   SEP 08 2014
                                                         EASTERN DISTRICT OF ARKANSAS                       JA~E~K
                                                                                                            By.   K
                                                                          )
             UN.ITEDSTATESOFAMEruCA                                       )      JUDGMENT IN A CRIMINAL CASE
                                  v.                                      )
                                                                          )
              GEORGE ALLEN THOMPSON                                              Case Number:           4:13CR00274-01 JLH
                                                                          )
                                                                          )      USMNumber:             25859-009
                                                                          )
                                                                          )       Molly K. Sullivan
                                                                                 Defendant's Attorney
THE DEFENDANT:
X pleaded guilty to count(s)        Count 3s of Superseding Indictment
0 pleaded nolo contendere to count(s)
  which was accepted by the court.
0 was found guilty on count(s)
  after a plea of not guilty.

The defendant is adjudicated guilty of these offenses:

Title & Section                   Nature of Offense                                                        Offense Ended                Count
21 U.S.C. § 841(a)(1)             Distribution of methamphetamine, a Class A felony                          9/16/2013                   3s




       The defendant is sentenced as provided in pages 2 through           _---=..6__ of this judgment. The sentence is imposed pursuant to
the Sentencing Reform Act of 1984.
0 The defendant has been found not guilty on count(s)
X Count(s)      Counts 1s, 4s of SS Indictment            0 is    X are dismissed on the motion of the United States.

         It is ordered that the defendant must notify the United States attorney for this district within 30 days of any change of name, residence,
or mailing address until all fines, restitution, costs, and special assessments imposed by this judgment are fully paid. If ordered to pay restitution,
the defen(Jant must notify the court and United States attorney of material clianges in econonnc circumstances.




                                                                          J, LEON HOLMES, UNITED STATES DISTRICT JUDGE
                                                                          Name and Title of Judge


                                                                          September 8, 2014
                                                                          Date
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AO 2458    (Rev. 09/11) Judgment in Criminal Case
           Sheet 2 - Imprisonment

                                                                                                 Judgment- Page --=2- of   6
DEFENDANT:                    GEORGE ALLEN THOMPSON
CASE NUMBER:                  4:13CR00274-0l JLH


                                                             IMPRISONMENT

         The defendant is hereby committed to the custody of the United States Bureau of Prisons to be imprisoned for a
 total term of:

                                                             120MONTHS


    X The court makes the following recommendations to the Bureau of Prisons:
      The Court recommends defendant participate in residential substance abuse treatment, and educational and
      vocational programs durin~ incarceration. The Court further recommends placement in the FCI Texarkana,
      Texas, facility so as to remam near family.


    X     The defendant is remanded to the_custody afthe UnitcclStatesMarshal.

    D The defendant shall surrender to the United States Marshal for this district:
          D at                                      D a.m.   D p.m.      on

          D as notified by the United States Marshal.

    D The defendant shall surrender for service of sentence at the institution designated by the Bureau of Prisons:
          D before 2 p.m. on
          D as notified by the United States Marshal.
          D as notified by the Probation or Pretrial Services Office.


                                                                RETURN
 I have executed this judgment as follows:




          Defendant delivered on                                                      to

 a _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ , with a certified copy of this judgment.



                                                                                               UNITED STATES MARSHAL



                                                                        By ---------~~~~=-~~=---------
                                                                                  DEPUTY UNITED STATES MARSHAL
                             Case 4:13-cr-00274-JLH Document 64 Filed 09/08/14 Page 3 of 8
AO 245B       (Rev. 09/11) Judgment in a Criminal Case
              Sheet 3 - Supervised Release
                                                                                                           Judgment-Page        3   of         6
DEFENDANT:                      GEORGE ALLEN THOMPSON
CASE NUMBER:                    4:13CR00274-01 JLH
                                                         SUPERVISED RELEASE
Upon release from imprisonment, the defendant shall be on supervised release for a term of :
                                                                FIVE (5) YEARS

         The defendant must report to the probation office in the district to which the defendant is released within 72 hours of release from
the custody of the Bureau of Pnsons.
The defendant shall not commit another federal, state or local crime.
The defendant shall not unlawfully JX?Ssess a controlled substance. The defendant shall refrain from any unlawful use of a controlled
substance. The defendant shall submit to one drug test within 15 days of release from imprisonment and at least two periodic drug tests
thereafter, as determined by the court.
0        The above drug testing condition is suspended, based on the court's determination that the defendant poses a low risk of
         future substance abuse. (Check, if applicable.)
X        The defendant shall not possess a firearm, ammunition, destructive device, or any other dangerous weapon. (Check, if applicable.)

X        The defendant shall cooperate in the collection of DNA as directed by the probation officer. (Check, if applicable.)

         The defendant shall comply with the requirements of the Sex Offender R~tion and Notification Act (42 U.S.C. § 16901, et seq.)
0        as directed by the probation officer, the "Bureau of Prisons, or any state sex offender registration agency in which he or she resides,
         works, is a student, or was convicted of a qualifying offense. (Check, if applicable.)

0        The defendant shall participate in an approved program for domestic violence. (Check, if applicable.)
        If this judgment imJX?ses a fine or restitution, it is a condition of supervised release that the defendant pay in accordance with the
Schedule of Payments sheet of this judgment.
          The defendant must comply with the standard conditions that have been adopted by this court as well as with any additional conditions
on the attached page.

                                           STANDARD CONDillONS OF SUPERVISION
    1)    the defendant shall not leave the judicial district without the permission of the court or probation officer;
    2)     the defendant shall report to the probation officer in a manner and frequency directed by the court or probation officer;
    3)    the defendant shall answer truthfully all inquiries by the probation officer and follow the instructions of the probation officer;
    4)     the defendant shall support his or her dependents and meet other family responsibilities;
    5)    the defendant shall work regularly at a lawful occupation, unless excused by the probation officer for schooling, training, or other
          acceptable reasons;
    6)     the defendant shall notify the probation officer at least ten days prior to any change in residence or employment;
    7)    the defendant shall refrain from excessive use of alcohol and shall not purchase, possess, use, distribute, or administer any
          controlled substance or any paraphernalia related to any controlled suostances, except as prescribed by a physician;
    8)     the defendant shall not frequent places where controlled substances are illegally sold, used, distributed, or administered;
    9)    the defendant shall not associate with any persons engaged in criminal activity and shall not associate with any person convicted of a
          felony, unless granted permission to do sooy the probation officer;
 10)      the defendant shall permit a probation officer to visit him or her at any time at home or elsewhere and shall permit confiscation of any
          contraband observed in plain view of the probation officer;
 11)      the defendant shall notify the probation officer within seventy-two hours of being arrested or questioned by a law enforcement officer;
 12)      the defendant shall not enter into any agreement to act as an informer or a special agent of a law enforcement agency without the
          permission of the court; and

 13)      as directed by the probation officer, the defendant shall notify third parties of risks that may be occasioned by the defendant's criminal
          record or ,I!ersonal history or characteristics and shall permit the probation officer to make such notifications and to confirm the
          defendant s compliance with such notification requirement.
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AO 2458   (Rev. 09/11) Judgment in a Criminal Case
          Sheet 3A- Supervised Release
                                                                                          Judgment-Page _.::!..4_   of    6
DEFENDANT:                GEORGE ALLEN THOMPSON
CASE NUMBER:              4:13CR00274-0l JLH

                                    ADDillONAL SUPERVISED RELEASE TERMS

14) The defendant must participate, under the guidance and supervision of the probation officer, in a substance abuse treatment
program which may include testing, outpatient counseling, and residential treatment. The defendant must abstain from the use
of alcohol throughout the course of treatment.
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AO 245B    (Rev. 09/11) Judgment in a Criminal Case
           Sheet 5 - Criminal Monetary Penalties
                                                                                                      Judgment- Page -----'5"-----   of   6
DEFENDANT:                         GEORGE ALLEN THOMPSON
CASE NUMBER:                       4:13CR00274-01 JLH
                                               CRIMINAL MONETARY PENALTIES
     The defendant must pay the total criminal monetary penalties under the schedule of payments on Sheet 6.


                      Assessment                                          Fine                               Restitution
TOTALS             $ 100.00                                            $ 0                                $ 0


0    The determination of restitution is deferred until
                                                        ---
                                                           . An Amended Judgment in a Criminal Case (AO 245C) will be entered
     after such determination.

0    The defendant must make restitution (including community restitution) to the following payees in the amount listed below.

     If the defendant makes a partial payment, each payee shall receive an approximately proportioned _ea}'l!!ent, unless specified otherwise in
     the priori~ order or percentage payment column below. However, pursuant to 18 U:S.C. § 3664(1), all nonfederal victims must be paid
     before the United States is paid.

Name of Payee                                  Total Loss*                         Restitution Ordered                  Priority or Percentage




 TOTALS                              $ _ _ _ _ _ _ __                         $ _ _ _ _ _ _ _ _ __



 0    Restitution amount ordered pursuant to plea agreement $

 0    The defendant must pay interest on restitution and a fine of more than $2,500, unless the restitution or fine is paid in full before the
      fifteenth day after the date of the judgment, pursuant to 18 U.S.C. § 3612(t). All of the payment options on Sheet 6 may be subject
      to penalties for delinquency and default, pursuant to 18 U.S.C. § 3612(g).

 0    The court determined that the defendant does not have the ability to pay interest and it is ordered that:

      0 the interest requirement is waived for the               0 fme    0      restitution.

      0 the interest requirement for the              0   fine    0 restitution is modified as follows:


 * Findings for the total amount of losses are required under Chapters 109A, 110, 11OA, and 113A of Title 18 for offenses committed on or after
 Septeml:)er 13, 1994, but before April23, 1990.
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AO 2458    (Rev. 09/11) Judgment in a Criminal Case
           Sheet 6 - Schedule of Payments

                                                                                                           Judgment - Page      6      of         6
DEFENDANT:                  GEORGE ALLEN THOMPSON
CASE NUMBER:                4:13CR00274-01 JLH

                                                          SCHEDULE OF PAYMENTS

Having assessed the defendant's ability to pay, payment of the total criminal monetary penalties is due as follows:

A    X     Lump sum payment of$ ----=.;100::..=.:.00=-=---- due immediately, balance due

           0     not later than                                     ,or
           0     in accordance           0    C,      0    D,   0     E, or     0 Fbelow; or
B    0     Payment to begin immediately (may be combined with                 0 C,     0 D, or     0 F below); or
C    0     Payment in equal                   (e.g., weekly, monthly, quarterly) installments of $                             over a period of
          _ _ _ _ _ (e.g., months or years), to commence                        (e.g., 30 or 60 days) after the date of this judgment; or

D    0     Payment in equal                   (e.g., weekly, monthly, quarterly) installments of $                          over a period of
          _ _ _ _ _ (e.g., months or years), to commence                        (e.g., 30 or 60 days) after release from imprisonment to a
           term of supervision; or

E    0     Payment during the term of supervised, r~ will commence. within                     (e.g., 30 or 60 days) after release &om
           imprisonment. The court will set the payment plan based on an assessment of the defendant's ability to pay at that time; or

F    0     Special instructions regarding the payment of criminal monetary penalties:




Unless the court has expressly ordered otherwise, if this jud~ent imposes imprisonment, payment of criminal monet!lJY penalties is due during
imprisonment. All cnrninal monetary penalties, except those payments made through the Federal Bureau of Prisons' Inmate Financial
Responsibility Program, are made to the clerk of the court.

The defendant shall receive credit for all payments previously made toward any criminal monetary penalties imposed.




0    Joint and Several

     Defendant and Co-Defendant Names and Case Numbers (including defendant number), Total Amount, Joint and Several Amount,
     and corresponding payee, if appropriate.




0    The defendant shall pay the cost of prosecution.

0    The defendant shall pay the following court cost(s):

X    The defendant shall forfeit the defendant's interest in the following property to the United States:
     See attached FINAL ORDER OF FORFEITURE entered on August 29, 2014.


Pa)'Illents shall be applied in the following order: (1) assessment, (2) restitution principal, (3) restitution interest, (4) fine principal,
(5) fine interest, (6) community restitution, (7) penalties, and (8) costs, including cost of prosecution and court costs.
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           Case 4:13-cr-00274-JLH Document 62 Filed 08/29/14 Page 1 of 2



                        IN THE UNITED STATES DISTRICf COURT
                           EASTERN DISTRICf OF ARKANSAS

UNITED STATES OF AMERICA

v.                                  No. 4:13CR00274-01 JLH

GEORGE ALLEN THOMPSON

                             FINAL ORDER OF FORFEITURE

       On June 16, 2014, the Court entered a Preliminary Order of Forfeiture (Dkt. 53), ordering

George Allen Thompson to forfeit his interest in one 2005 black Lexus displaying Arkansas

license #28200T ("forfeited property"). The Court's order authorized the United States to

commence any applicable proceeding to comply with statutes J')Verning third-party rights,

including giving notice of the Preliminary Order of Forfeiture. The United States has complied

with its noticing obligations.   The United States published notice of the forfeiture on the

government's forfeiture website, internet address ofwww.forfeiture.gov, for 30 consecutive days

beginning on June 19, 2014. See Declaration of Publication (Dkt. 59). The notice advised all

third parties of their right to petition the Court for a hearing to adjudicate the validity of their

alleged legal interest in the property. ld. Additionally, the United States has made reasonable

efforts to give direct notice to any person who reasonably appears to be a potential claimant with

standing to contest the forfeiture in an ancillary proceeding.       ld.   No claims were filed;

accordingly, the United States requests that the Court enter a final order of forfeiture. The United

States now has all right, title, and interest in the forfeited property. Any prior claims in and

against the forfeited property are extinguished and declared void. The property shall be turned

over to the United States Marshals Service and disposed of according to law.
  Case 4:13-cr-00274-JLH Document 64 Filed 09/08/14 Page 8 of 8
   Case 4:13-cr-00274-JLH Document 62 Filed 08/29/14 Page 2 of 2



So Ordered this~ day of August 2014.




                               HON       BLE J. LE N HOLMES
                               United States District Judge




                                  2
